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                      UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                              TALLAHASSEE DIVISION




NAACP, et al.,

               Plaintiffs,

v.                                                                      4:73cv177-WS

GADSDEN COUNTY SCHOOL
BOARD,

               Defendants.



           ORDER VACATING, IN PART, ORDER ENTERED MARCH 6, 1984

        By order docketed March 6, 1984, this court ordered the Gadsden County School

Board (the “Board”) to reapportion into five single-member residence districts, the

boundaries of which were described and displayed in an attached map. No provisions

were made then or afterwards for modification or continuance of the 1984 redistricting

plan.

        Before the court at this time is the Board’s motion to reopen the court file in this

1973 case. The plaintiffs have not responded to the motion.

        The Board represents that, since the 1984 order and judgment, significant

changes have taken place in the population and demographic make-up of Gadsden
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County. On November 13, 2003, the Board passed a resolution adopting new districts

that purportedly reflect the changes in population and demographics that have occurred

since implementation of the existing plan. The Board now asks this court to enter an

order reopening the 1973 case and approving the new districts.

        The court having reviewed the Board’s motion, it is ORDERED:

        1. The Board’s motion (doc. 2) to reopen Case No. 4:73cv177-WS and to amend

the order entered on the docket March 6, 1984, is GRANTED in part.

        2. The order and judgment entered on the docket March 6, 1984, is VACATED

AND SET ASIDE to the extent, if any, such order/judgment serves as an impediment to

the Board’s implementation of a new districting plan.

        3. By so vacating the 1984 order/judgment, the court neither approves nor

disapproves on its merits the redistricting plan adopted by resolution on November 13,

2003.

        DONE AND ORDERED this January 21, 2004.




                                         /s William Stafford
                                         WILLIAM STAFFORD
                                         SENIOR UNITED STATES DISTRICT JUDGE




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